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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.         SACV 18-10188 AG                                         Date   January 22, 2019
 Title            IN RE: STEVEN MARK ROSENBERG




 Present: The                  ANDREW J. GUILFORD
 Honorable
                Lisa Bredahl                         None Present
                Deputy Clerk                   Court Reporter / Recorder                Tape No.
           Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                       Not Present                                     Not Present
 Proceedings:              [IN CHAMBERS] ORDER SETTING HEARING ON ORDER TO
                           SHOW CAUSE

On December 7, 2018, debtor Steven Mark Rosenberg filed a notice of appeal from the June 7,
2018 Order of Bankruptcy Judge Victoria S. Kaufman. The Court issued an Order to Show
Cause why this case should not be dismissed because the notice of appeal was untimely. (Dkt.
7.) Appellant Rosenberg filed a response to the order, and three Appellees (Mortgage Electronic
Registration Systems, Inc., Ocwen Loan Servicing, LLC, And Deutsche Bank National Trust
Company) filed objections.

A hearing on the Order to Show Cause will take place on February 11, 2019 at 9:00 a.m.

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                                                         Initials of
                                                         Preparer             lmb




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